Case 2:19-cv-20673-KM-ESK Document 24 Filed 07/23/20 Page 1 of 2 PageID: 146



Thomas J. Cotton, Esq.
SCHENCK, PRICE, SMITH & KING, LLP
220 Park Avenue, P.O. Box 991
Florham Park, New Jersey 07932-0991
(973) 539-1000
Attorneys for Defendant,
Pro Custom Solar LLC d/b/a Momentum Solar

                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


STEWART SMITH and BRENNAN                                  CIVIL ACTION
LANDY, individually and on behalf of all
others similarly situated,                                No. 2:19-cv-20673

Plaintiffs,                                     NOTICE OF MOTION TO DISMISS
                                                  PLAINTIFFS’ COMPLAINT
v.
                                                       Oral Argument Requested
PRO CUSTOM SOLAR LLC d/b/a
MOMENTUM SOLAR,                                      Motion Date: August 17, 2020

Defendant.


To:    Ari Marcus, Esq.
       Marcus & Zelman, LLC
       701 Cookman Avenue, Suite 300
       Asbury Park, New Jersey 07712
       Email: ari@marcuszelman.com
       Attorneys for Plaintiff

       PLEASE TAKE NOTICE that on August 17, 2020, at 9:00 am or as soon thereafter as
counsel may be heard, the undersigned attorneys for defendant Pro Custom Solar LLC d/b/a
Momentum Solar (“Defendant”) will apply to the above-named Court at the Martin Luther King
Building & U.S. Courthouse, 50 Walnut Street, Newark, New Jersey 07101, for an order
dismissing plaintiffs’ complaint pursuant to Federal Rule of Civil Procedure 12(b)(6); and for
such other relief as this Court deems just and proper.

       PLEASE TAKE FURTHER NOTICE that in support of this motion, Defendant will rely
upon its brief. A proposed form of order is submitted herewith for the Court’s consideration.

Dated: Florham Park, New Jersey
       July 23, 2020
Case 2:19-cv-20673-KM-ESK Document 24 Filed 07/23/20 Page 2 of 2 PageID: 147



                                   SCHENCK, PRICE, SMITH & KING, LLP

                                   By:   s/ Thomas J. Cotton
                                         Thomas J. Cotton

                                   220 Park Avenue, P.O. Box 991
                                   Florham Park, NJ 07932-0991
                                   Telephone: (973) 539-1000
                                   Fax: (973) 540-7300

                                   tjc@spsk.com

                                   Attorneys for Defendant,
                                   Pro Custom Solar LLC d/b/a Momentum Solar
